                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF SOUTH CAROLINA
                             GREENVILLE DIVISION


UNITED STATES OF AMERICA         )            Criminal No. 6:19-239-BHH
                                 )
               v.                )
                                 )
SCOTT A. KOHN                    )
FUTURE INCOME PAYMENTS, LLC      )
JOSEPH P. HIPP                   )                          ORDER
KRAIG S. AIKEN                   )
DAVID N. KENNEALLY               )
                                 )
                  Defendants.    )           Civil Action No. 6:19-1112-BHH
________________________________ )
                                 )
IN RE RECEIVER FOR SCOTT         )
A.KOHN AND FUTURE INCOME         )
PAYMENTS, LLC, JOSEPH P. HIPP    )
KRAIG S. AIKEN AND DAVID N.      )
KENNEALLY                        )


      This matter is before the Court on the United States of America’s February 28,

2020 Motion to Amend (Civil ECF No. 40) the Order of Appointment entered April 15,

2019 (Civil ECF No. 1). On March 12, 2019, a federal grand jury indicted Scott A. Kohn

(“Kohn”) and Future Income Payments, LLC (“FIP”) for conspiracy to engage in wire and

mail fraud related to allegations that Kohn and FIP orchestrated and effectuated a Ponzi

scheme. On July 9, 2019, Joseph P. Hipp (“Hipp”), Kraig S. Aiken (“Aiken”) and David N.

Kenneally (“Kenneally”) were named in a Superseding Indictment. (Criminal ECF No. 22.)

As a result of the Superseding Indictment, the United States of American moves the Court

to add Hipp, Aiken, and Kenneally to the Order of Appointment as Defendants.

      On March 27, 2019, the United States moved the Court pursuant to Title 18, United
States Code, Section 1956(b)(4)(A), and the Court’s inherent equitable powers for the

appointment of a Federal Receiver regarding Kohn and FIP. (Criminal ECF No. 12.) The

Court granted the United States’ motion on April 8, 2019 (Criminal ECF No. 14), appointed

Beattie B. Ashmore as the Receiver on April 12, 2019 (Criminal ECF No. 15), and

thereafter amended the Order of Appointment on April 30, 2019 (Criminal ECF No. 17)

and July 18, 2019 (Criminal ECF No. 37). After consideration, the Court grants the United

States of America’s Motion to Amend and removes Car Champs Finance, LLC; Veterans

Rideshare, LLC; and Your Leasing Solutions d/b/a VRS Leasing, Inc. Additionally, after

consideration, the Court grants the United States of America’s Motion to Amend and adds

Future Income Payments, Inc.; Cash Flow Outsourcing Services, Inc.; Buy Sell Annuity,

Inc.; AAA Auto Lease to Own Holdings, LLC; and Legal Cash Flow Solutions.

      This Order replaces and supersedes the Order of July 18, 2019. (Civil ECF No. 9.)

      Further, the following are entities and individuals controlled by and/or alter egos of

the Defendants to include:


 Pension, Annuities and Settlements, LLC
 FIP, LLC
 Future Income Payments, Inc.
 AAA Auto Lease to Own Holdings, LLC
 Anadolu Trans Gida A.S.
 Bally Structured Cash Flows, LLC
 Buy Sell Annuity, Inc.
 Cash Flow Investment Partners East LLC
 Cash Flow Investment Partners LLC
 Cash Flow Investment Partners Mideast LLC
 Cash Flow Outsourcing Services, Inc.
 Computer Supply Corporation
 Consolidators Supply Service
 DE Computer Supply Corporation
 Employment Mobility Fund
 EOL Sales and Leasing, Inc.
 Georgetown Holdings LLC


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 Goldyrocks, Inc
 Investors Choice Commercial Leasing LLC
 (ICCL)
 Investors Choice Commercial Capital, LLC
 Jewels By Kimberly, Inc.
 Krishna International Products, Inc.
 Leckwith Woods LLC
 Legal Cash Flow Solutions
 London Square Collections LLC
 London Square Specialty Finance LLC
 London Square Specialty Services LLC
 Lumpsum Pension Advance Atlantic LLC
 Lumpsum Pension Advance Southeast LLC
 Lumpsum Pension Atlantic LLC
 Lumpsum Pension Southeast LLC
 Lumpsum Settlement West LLC
 Next Merchant Advance LLC
 NWP, Inc.
 PAS California LLC
 PAS Great Lakes LLC
 PAS Northeast LLC
 PAS Southwest LLC
 Pension Advance Carolinas LLC
 Pension Advance Midwest LLC
 Pension Carolinas LLC
 Pension Midwest, LLC
 Pensions Loans South, LLC
 Pink Wasabe, LLC
 QSV Corporation
 SK Investments DE, Inc.
 SK Judgement Recovery Services
 The Judgement Experts
 Trade.com Enterprises, Inc.
 Vasnani Co.
 Western Computers, Inc.
 Joseph P. Hipp’s Agent Alternatives, LLC
 Benjamin A. Geber
 Melanie-Jo Schulz Miller
 MJSM Financial, LLC

      In addition, this includes all businesses and/or trusts owned or controlled by Scott

A. Kohn, Joseph P. Hipp, Kraig S. Aiken, and/or David N. Kenneally and their subsidiaries,



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successors and assigns. Collectively, these individuals, entities and Defendants shall be

referred to collectively as the “FIP Receivership Entities”.

       Whereas, the Government asks that the Receiver be vested with full and exclusive

power, duty and authority to administer and manage the business affairs, funds, assets,

choses in action and any other property of the FIP Receivership Entities, marshal and

safeguard all of the assets of the FIP Receivership Entities, and take whatever actions

are necessary for the protection of the United States and investors.

       Whereas, the Court has appointed Beattie B. Ashmore, Esquire, Greenville, South

Carolina who the Court finds is eminently qualified to be appointed as Receiver of all of

the assets, real and personal properties, books and records, and other items of the FIP

Receivership Entities.

       Now, Therefore, IT IS ORDERED, ADJUDGED AND DECREED that the

appointed Receiver for the FIP Receivership Entities is hereby authorized, empowered,

and directed to:

       1. Take immediate possession of all property, assets and estates owned,

controlled, used, accessed or authorized by or for the benefit of the FIP Receivership

Entities, (including assets and property directly traceable to the FIP Receivership Entities

that may be in the possession of Kohn, Hipp, Aiken and/or Kenneally’s family members,

business associates and acquaintances) that have and continue to receive, withdraw,

hold, and/or disburse money on behalf of the FIP Receivership Entities or in the

possession of the FIP Receivership Entities of every kind whatsoever and wheresoever

located, including, but not limited to, rights of action, books, papers, data processing

records, evidences of debt, bank accounts, savings accounts, pension/annuity certificates




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or assignments certificates of deposit, stocks, bonds, debentures and other securities,

mortgages, furniture, fixtures, office supplies and equipment, and all real property of the

FIP Receivership Entities, wherever situated, and to administer such assets as is required

in order to comply with the directions contained in this Order, and to hold all other assets

pending further order of this Court.

       Access to Seized Documents and Property

       In the event that any of the foregoing documents or property have been seized by

the Federal Bureau of Investigations (“FBI”) such authorities are directed to grant the

Receiver and his agents full and unfettered access to review and copy such documents

and property to permit the Receiver to discharge his duties, subject to the FBI’s ability to

review, store, and assure said documents are safeguarded for use in future legal

proceedings. In addition, the FBI is directed to turn over any and all assets seized from

the FIP Receivership Entities directly to the Receiver. Any entity that has possession,

custody, or control of any asset of the FIP Receivership Entities is directed to turn over

such asset to the Receiver.

       2. Investigate the manner in which the affairs of the FIP Receivership Entities were

conducted and institute such actions, legal proceedings and/or summary proceedings, for

the benefit and on behalf of the FIP Receivership Entities, and their respective investors

or other creditors, as the Receiver deems necessary against those individuals,

corporations, agencies, partnerships, associations and/or unincorporated organizations,

that the Receiver may claim to have wrongfully, illegally or otherwise improperly be in the

possession of or misappropriated/transferred monies or other proceeds directly or

indirectly traceable from investors in the Ponzi scheme operated by Defendants, including




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their respective officers, directors, employees, affiliates, subsidiaries or any persons

acting in concert or participation with them, or against any transfers of monies or other

proceeds directly or indirectly traceable from investors in FIP; provided such actions may

include, but not be limited to, seeking imposition of constructive trusts, disgorgement of

profits, and such orders from this Court as may be necessary to enforce this Order.

       3. Present to this Court a report reflecting the existence and value of the assets

and liabilities of the FIP Receivership Entities. If the Receiver in executing his duties

believes it is in the best interest of all parties and persons affected that certain assets

seized should be liquidated prior to a final liquidation of assets in order to maximize the

value, the Receiver shall take the necessary steps to liquidate such property. The Court

is aware that the Receiver is in the possession of certain assets that may need to be sold

forthwith in order to preserve their value. As to these assets, the Receiver is authorized

to conduct a sale at his discretion without obtaining a specific order from the Court.

       4. Appoint one or more special agents, employ legal counsel, actuaries,

accountants, clerks, consultants and assistants as he deems necessary and to fix and

pay their reasonable compensation and reasonable expenses thereof and all reasonable

expenses of taking possession of the FIP Receivership Entities’ assets and businesses,

and exercising the power granted by this Order, subject to approval by this Court at the

time the Receiver accounts to the Court for such expenditures and compensation.

       5. Engage persons in his discretion to assist him in carrying out his duties and

responsibilities as Receiver, including, but not limited to, the United States Marshal’s

Service or a private security firm.

       6. Defend, compromise or settle legal actions, including the instant proceeding,




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wherein the Defendants or the Receiver are a party, commenced either prior to or

subsequent to this Order, with authorization of this Court; except, however, in actions

where any Defendant is a nominal party, as in certain foreclosure actions where the action

does not affect the assets of the Defendants, the Receiver may file appropriate pleadings

in his discretion. The Receiver may waive any attorney-client or other privilege held by

Defendants.

       7. Assume control of, and be named as authorized signatory for, all accounts at

any bank, brokerage firm or financial institution that has possession, custody or control of

any assets or funds, wherever situated, of--or for the benefit of--the FIP Receivership

Entities and, upon order of this Court, of any of their subsidiaries or affiliates, provided

that the Receiver deems it necessary.

       8. In the event that the Receiver discovers that funds of persons who have invested

in the FIP Receivership Entities, have been transferred to other persons or entities, the

Receiver shall recover these funds or apply to this Court for an Order giving the Receiver

possession of such funds and, if the Receiver deems it advisable, extending this

receivership over any person or entity holding such investor funds.

       9. Make or authorize such payments and disbursements from the funds and assets

taken into control, or thereafter received by the Receiver, that which are reasonable in

discharging his duties as Receiver.

       10. Have access to and review all mail except for mail from the Defendants’

attorney to Defendant, as more fully set forth in paragraph 24 of this Order.

       11. Upon conviction or guilty plea, if such a conviction or guilty plea comes to bear,

do all things necessary, including, but not limited to fashioning and distributing a proof of




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claim form in order to obtain, collect, analyze, verify and present to the Court information

related to the financial loss of victims.

       12. Upon entry of an Order of Restitution, if such an order is entered, do all things

necessary to effectuate a distribution, including, but not limited to fashioning and

submitting a Plan for Claims Administration and Distribution of Proceeds to be approved

by the Court; locating, seizing, managing and liquidating, with Court approval, assets held

or obtained by the Receiver; and distributing, at the Court’s discretion, the corpus of the

Receiver Estate to those persons who have met the requirement for and are entitled to

restitution.

       IT IS FURTHER ORDERED, ADJUDGED AND DECREED that, in connection with

the appointment of the Receiver provided for above:

       13. As set forth in detail below, the following proceedings, excluding the instant

proceeding and all police or regulatory actions, are stayed until further Order of this Court:

            All civil legal proceedings of any nature, including, but not limited to ,
bankruptcy proceedings, arbitration proceedings, foreclosure actions, default
proceedings, or other actions of any nature involving: (1) the Receiver, in his capacity as
Receiver; (b) any Receivership Property, wherever located; (c) any of the Receivership
Entities, including subsidiaries and partnerships; or, (d) any of the Receivership Entities’
part or present officers, directors, managers, agents, or general or limited partners sued
for, or in connection with, any action taken by them while acting in such capacity of any
nature, whether as plaintiff, defendant, third-party plaintiff, third-party defendant, or
otherwise (such proceedings are hereinafter referred to as “Ancillary Proceedings”).

       The Parties to any and all Ancillary Proceedings are enjoined from commencing or

continuing any such legal proceeding, or from taking any action, in connection with any

such proceedings, including, but not limited to, the issuance or employment of process.

       All Ancillary Proceedings are stayed in their entirety, and all Courts having any

jurisdiction thereof are enjoined from taking or permitting any action until further Order of




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this Court. Further, as to a cause of action accrued or accruing in favor of one or more of

the Receivership Entities against a third person or party, any applicable statute of

limitations is tolled during the period in which the injunction against commencement of

legal proceedings in in effect as to that cause of action.

       14. The FIP Receivership Entities and all of their respective directors, officers,

agents, employees, attorneys, attorneys-in-fact, shareholders, sales representatives and

other persons who are in custody, possession, or control of any assets, books, records,

or other property of the FIP Receivership Entities shall deliver forthwith upon demand

such property, monies, books and records to the Receiver, and shall forthwith grant to the

Receiver authorization to be a signatory as to all accounts at banks, brokerage firms or

financial institutions that have possession, custody or control of any assets or funds in the

name of or for the benefit of the FIP Receivership Entities.

       15. All banks, brokerage firms, financial institutions, or other business entities that

have or may have -- per information provided by the Receiver -- possession, custody or

control of any assets, funds or accounts in the name of, or for the benefit of the FIP

Receivership Entities or in the name of or for the benefit of individuals known to be

working in concert with the FIP Receivership Entities (including those acting in the

capacity of investment advisors and insurance agents) shall cooperate expeditiously in

providing necessary information and in the granting of control and authorization as a

necessary signatory as to said assets and accounts to the Receiver, including but not

limited to, placing a freeze on accounts at the Receiver’s direction. Any required

disclosure and notification of the Receiver’s request for information and/or control of said

assets and accounts shall occur in a manner so as not to impede the duties of the




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Receiver.

       16. Unless and as authorized by the Receiver, the FIP Receivership Entities, and

their respective principals or anyone purporting to act on their behalf shall take no action

on behalf of or for the benefit of the FIP Receivership Entities.

       17. The FIP Receivership Entities, and their respective principals, officers, agents,

employees, attorneys-in-fact, and sales representatives shall cooperate fully with the

Receiver, including, if requested, appearing for deposition testimony and producing

documents, upon two business days’ notice (which may be sent electronically or by

facsimile), and shall take no action, directly or indirectly, to hinder, obstruct, or otherwise

interfere with the Receiver in the conduct of his duties or to interfere in any manner,

directly or indirectly, with the custody, possession, management, or control by the

Receiver of the funds, assets, premises, or choses in action described above.

       18. The Receiver, or any counsel who the Receiver may select, is entitled to

reasonable compensation from the assets now in the possession or control of, or which

may be received by the FIP Receivership Entities; said amount or amounts of

compensation shall be commensurate with the duties performed, subject to approval of

the Court.

       19. During the period of this Receivership, all persons, including creditors, banks,

investors, or others, with actual notice of this Order, are enjoined from filing a petition for

relief under the United States Bankruptcy Code without prior permission from this Court,

or from in any way disturbing the assets or proceeds of the receivership or from

prosecuting any actions or proceedings that interfere with the discharge of the Receiver’s

obligations.




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       20. The Receive is fully authorized to proceed with any filing he may deem

appropriate under the Bankruptcy Code as to Defendants.

       21. Title to all property, contracts, rights of action, and books and records of the

FIP Receivership Entities, and their respective principals, wherever located, is vested by

operation of law in the Receiver.

       22. Upon request by the Receiver, any company providing telephonic services to

the FIP Receivership Entities, shall provide a reference of calls from all numbers presently

assigned to the FIP Receivership Entities, to any such number designated by the

Receiver or perform any other changes necessary to the conduct of the receivership.

       23. Any entity furnishing water, electric, telephone, sewage, garbage or trash

removal services to the FIP Receivership Entities shall maintain such service and transfer

any such accounts to the Receiver unless otherwise instructed by the Receiver without

the need to post a bond or security deposit.

       24. The United States Postal Service is directed to provide any information

requested by the Receiver regarding any Defendant and handle future deliveries of

Defendants’ mail as directed by the Receiver. All personal mail or mail to or from the

Defendants’ attorney will be delivered to the Defendants’ attorney by the Receiver.

       25. All Clerks of Court for the District Courts of the United States are directed to

coordinate with the Receiver to facilitate the filing of notices required by 28 U.S.C. § 754.

       26. No bank, savings and loan association, financial institution, or any other person

or entity, shall exercise any form of set-off, alleged set-off, lien, or any form of self-help

whatsoever, or refuse to transfer any funds or assets to the Receivers control without the

permission of this Court.




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         27. No bond shall be required in connection with the appointment of the Receiver.

Except for an act of gross negligence, the Receiver shall not be liable for any loss or

damage incurred by the FIP Receivership Entities, or the Receiver’s officers, agents,

employees, independent representatives or any other person, by reason of any act or

omission by the Receiver in connection with the discharge of his duties and

responsibilities hereunder.

         28. Service of this Order shall be sufficient if made upon the FIP Receivership

Entities or their respective principals electronically, by facsimile, or by overnight courier.

         29. The Receiver is ordered to periodically file a Report on his activities with the

Court.

            IT IS SO ORDERED.

                                                   /s/Bruce Howe Hendricks
                                                   United States District Judge

March 2, 2020
Greenville, South Carolina




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